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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                           Case No. 19-cr-20450-SCOLA/TORRES

  UNITED STATES of AMERICA,

            Plaintiff,


  v.

  ALEX NAIN SAAB MORAN,

        Defendant.
  __________________________________/

            MOTION TO ENFORCE RULE 53 AND TO LIMIT ZOOM ACCESS

            The Defendant, ALEX NAIN SAAB MORAN, moves the Court to enforce Rule

  53 of the Federal Rules of Criminal Procedure and states:

       I.      BACKGROUND

            Mr. Saab, a Venezuelan diplomat, is a polarizing figure on a global stage and

  his legal battles following his arrest garnered international media attention. On

  October 18, 2021, Mr. Saab made his initial appearance before Magistrate Judge John

  O’Sullivan (“Initial Appearance”). The Court conducted the hearing via Zoom with

  Mr. Saab appearing from the Federal Detention Center. The Defendant’s lawyer and

  counsel for the Government appeared via Zoom as well. In addition to those necessary

  participants, over three hundred persons signed into the Court’s Zoom link to observe

  the hearing. Many or perhaps most of them were members of the press covering Mr.

  Saab’s case; others were bloggers or individuals, many of whom were anxious to
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  publish photographs and videos of Mr. Saab. Mr. Saab is intensely disliked in our

  community because of his relationship with the Venezuelan government.

       Aware of the significant local and international interest in Mr. Saab’s case and

  recognizing the hundreds of persons joining the video Zoom hearing to watch the

  proceedings, Judge O’Sullivan, in direct and clear terms, reminded the multitude in

  attendance that they were strictly prohibited by federal law from photographing,

  video-recording, and broadcasting court proceedings. Nevertheless, dozens of media

  outlets and others ignored the Court’s instructions and photographed and

  videorecorded Mr. Saab’s Initial Appearance. Those photographs and recordings

  containing images of Mr. Saab wearing prison garb and shackled inside of the Federal

  Detention Center were then published across the nation and the world. While

  legitimate and reputable news organizations adhered to federal law, many others did

  not. Attached as Exhibit “A” is a list of just some of the media outlets and others who

  published photographs and videos of Mr. Saab from the Federal Detention Center

  during his Initial Appearance.

    II.     ARGUMENT

            A.      RULE 53 PROHIBITS PHOTOGRAPHING, VIDEORECORDING, AND
                    BROADCASTING DISTRICT COURT CRIMINAL PROCEEDINGS.

          The Court’s authority to prohibit recordings and photographs of court

  proceedings in his courtroom is found in Federal Rule of Criminal Procedure 53. Rule

  53 provides: “Except as otherwise provided by a statute or these rules, the court must

  not permit the taking of photographs in the courtroom during judicial proceedings or

  the broadcasting of judicial proceedings from the courtroom.” Fed. R. Crim. P. 53

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  (emphasis added).1 “The words ‘shall not be permitted’ make clear that this rule is

  mandatory, leaving the Court with no discretion to ignore the categorical ban.” United

  States v. Moussaoui, 205 F.R.D. 183, 184 (E.D. Va. 2002). While the press and the

  public have the right to observe criminal trials, “Rule 53 [cannot be] rewritten or

  finessed through technical hairsplitting.” See id. (citing United States v. Hastings,

  695 F.2d 1278, 1284 (11th Cir. 1983) (rejecting a First Amendment Challenge to Rule

  53). But the public’s right to observe a criminal trial is a right to attend “rather than

  a license allowing cameras or tape-recorders into the courthouse” United States v.

  Hernandez, 124 F. Supp. 2d 698, 702 (S.D. Fla. 2000) (citing Hastings, 695 F.2d 1278

  at 1280).

        “Section 15002(b) of the Coronavirus Aid, Relief, and Economic Security Act

  (“CARES Act”), enacted on March 27, 2020, authorizes the broadcasting of certain

  criminal proceedings virtually (including, detention hearings, initial appearances,

  preliminary hearings, waivers of indictment, arraignments, probation and supervised

  release revocation proceedings, pretrial release revocation proceedings, and felony

  pleas and sentencings, among others). . . .” United States v. Gordon, EP-20-CR-00226-

  DCG, 2021 WL 1820690, at *1 (W.D. Tex. May 6, 2021) (citing CARES Act, Pub. L.

  No. 116-136, § 15002(b)). But this accommodation, necessary only because the

  COVID-19 pandemic, does not otherwise suspend Rule 53’s prohibitions against

  photographing, videorecording and broadcasting district court criminal proceedings.



  1      Local Rule 77.1 likewise prohibits the taking of photographs and videos inside
  of courtrooms.

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  While the realities associated with the COVID-19 pandemic has forced the courts to

  hold certain proceedings via Zoom, it is not a license to disregard and violate Rule

  53’s prohibition on recording or photographing district court criminal proceedings

  with the intent to publish the images to the public.

        While public access to judicial proceedings has long been enshrined as a

  component of our justice system “[t]he right of access is not absolute” and “may be

  tempered by a defendant’s right to a fair trial.” Moussaoui, 205 F.R.D. 183, 186.2

  “Further, the Judicial Conference of the United States has consistently reaffirmed

  throughout the years its opposition to permit criminal courtroom proceedings in

  district courts to be broadcasted, televised, recorded, or photographed for the purpose

  of public dissemination.” Gordon, EP-20-CR-00226-DCG, 2021 WL 1820690, at *1.3

  After a three-year pilot program, where The Judicial Conference considered a

  recommendation for broadcasting of civil proceedings in federal district and circuit

  courts, it reaffirmed the intimidating effect of camaras in the courtroom and

  disapproved a proposed amendment to Rule 53. See id.




  2      Citing Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 606, 102 S.Ct.
  2613, 73 L.Ed.2d 248 (1982); Westmoreland v. Columbia Broadcasting System,
  Inc., 752 F.2d 16, 19 (2nd Cir.1984); Press–Enterprise Co. v. Superior Court, 478 U.S.
  1, 14–15, 106 S.Ct. 2735, 92 L.Ed.2d 1 (1986).
  3      Citing e.g., Annual Report of the Proceedings of the Judicial Conference of the
  United States, March 8-9, 1962, p. 10; Chief Justice William H. Rehnquist, Judicial
  Conference of the United States, Report of the Proceedings of the Judicial Conference
  of the United States, Washington, DC, September 20, 1994, p. 46, 67 at
  http://www.uscourts.gov/file/2120/download; Chief Justice William H. Rehnquist,
  Judicial Conference of the United States, Report of the Proceedings of the Judicial
  Conference of the United States, Washington, DC, March 12, 1996, p. 17, at
  http://www.uscourts.gov/file/2119/download.
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           Although Zoom, and similar video platforms, have become necessary tools

  during the pandemic, Rule 53’s prohibitions remain in place. While there may be a

  temptation to rationalize that less intrusive modern technology renders Rule 53’s

  prohibitions less important, the opposite is true. See Moussaoui, 205 F.R.D. 183 at

  186. The Moussaoui court, whose reasoning in 2002 seems prescient, stated as

  follows:

           Advances in broadcast technology, however, have also created new
           threats to the integrity of the fact-finding process. The traditional public
           spectator or media representative who attends a federal criminal trial
           leaves the courtroom with his or her memory of the proceedings and any
           notes he or she may have taken. These spectators do not leave with a
           permanent photograph.4 However, once a witness’ testimony has been
           televised, the witness' face has not just been publicly observed, it has
           also become eligible for preservation by VCR or DVD recording,
           digitizing by the new generation of cameras or permanent placement on
           Internet web sites and chat rooms. Today, it is not so much the small,
           discrete cameras or microphones in the courtroom that are likely
           to intimidate witnesses, rather, it is the witness' knowledge that
           his or her face or voice may be forever publicly known and
           available to anyone in the world.

  Id. at 186–87 (emphasis added).

           The Moussaoui court’s rationale applies with even greater significance in today

  digital climate. With Zoom technology, the fear that a witness’s or defendant’s face or

  voice may be at some time publicly available is replaced with the certainty, as it was

  in this case, that it will be immediately available and immediately circulated

  worldwide. And while the Moussaoui court focused on witnesses, Rule 53’s

  prohibitions apply to all criminal court proceedings and to witnesses and defendants

  alike.




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        The widespread publication of Mr. Saab’s images at the Initial Appearance

  confirms the need to enforce the requirements of Rule 53 under the circumstances

  presented in this highly publicized case. Just minutes after the Initial Appearance

  concluded, photographs and videos of Mr. Saab sitting at the Federal Detention

  Center proliferated throughout the internet. See Ex. A.

           B.     THE VIOLATORS ACTED WILLFULLY.

        Here, despite Judge O’Sullivan’s explicit order that the Defendant’s court

  proceedings may not be photographed and recorded, the media members and others

  listed in Exhibit “A,” and countless others, did exactly what Judge O’Sullivan

  prohibited them from doing and published videos and photos of Mr. Saab

  participating in the court hearing while he was in custody. In willful contempt of the

  Court’s order and Rule 53, those images have been published far and wide. It is

  concerning that so many would so willfully defy the Court’s commands only minutes

  after the Court specifically issued a warning in open court. The Court should not

  permit such contemptuous conduct and act to ensure that it not happen again.

           C.     THE COURT SHOULD TAKE APPROPRIATE STEPS TO ENSURE
                  COMPLIANCE WITH RULE 53.

        Understandably, the balancing tension between public access and the

  prohibitions regarding the photographing and recording of court proceedings, in this

  age-of-the-pandemic, is challenging. Nevertheless, the Court can and should take

  proactive steps to prevent future public dissemination of Zoom video images of court

  proceedings. Early in the pandemic one District Court implemented the following




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  procedures to exert rational control over the proceedings.

        The Court further intends to issue a limited number of authorizations
        to access the trial remotely. Those wishing to attend trial remotely may
        apply in advance. The Court will issue notices to the public as the trial
        date approaches. At this point, the Court anticipates notifying the public
        that they may listen to, or watch, the proceedings (as appropriate) by
        calling a particular telephone number, or joining a particular video
        conference. These participants will be reminded of and required to agree
        to the general prohibitions against photographing, recording, or
        broadcasting court proceedings. This procedure is intended to increase
        access to the trial proceedings, reduce costs, and alleviate the barriers
        inherent in requiring people to travel to the courthouse to access the
        viewing room during the pandemic.

  United States v. Babichenko, 508 F. Supp. 3d 774, 780–81 (D. Idaho 2020).

  Considering the willful violations which have already occurred in the case at hand,

  the Court should consider taking similar steps.

        The right to public access to criminal trials (and other district court criminal

  proceedings) is not absolute. Globe Newspaper Co. v. Superior Court for Norfolk

  County, 457 U.S. 596, 606 (1982). And here, Mr. Saab is not seeking to eliminate

  public access, which is of constitutional stature, but rather, requests that the Court

  play a gatekeeping role to prevent further Rule 53 violations. See id. The Moussaoui

  court wrestled with the tension between public access to district court criminal

  proceedings versus adherence to Rule 53. See generally Moussaoui, 205 F.R.D. 183.

  There, the defendant was an alleged “member of the al Qaeda conspiracy to blow up

  the World Trade Center in Manhattan and government buildings in the Washington,

  D.C. area . . . .” Id. at 184. The Intervenors in the Moussaoui case asked that “the

  court to ignore or declare unconstitutional the well-established ban on photographing

  and broadcasting federal criminal pretrial and trial proceedings.” Id. The Moussaoui

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  court addressed the juxtaposition of public access to courts and Rule 53 as follows:

        We are very aware of the extensive, legitimate public interest in this
        case, and understand that many thousands of people in this country and
        throughout the world, suffered devastating losses on September 11,
        2001. It is understandable that they might want to watch this trial.
        However, contrary to what intervenors have argued, the purpose of this
        trial is not to provide catharsis to the victims or to educate the world
        about the American legal system. Instead, the purpose is to determine
        the innocence or guilt of this defendant for the specific crimes charged
        in the Indictment. It remains a bedrock principle of our legal system
        that the courts have the right “to conduct their business in an
        untrammeled way.” Wood v. Georgia, 370 U.S. 375, 383, 82 S.Ct. 1364,
        8 L.Ed.2d 569 (1962). To ensure that both this defendant and the
        United States receive a fair and orderly trial, none of these
        proceedings should be photographed or broadcast in any form.

  Moussaoui, 205 F.R.D. at 188 (emphasis added).

        Some restrictions to hearings conducted over Zoom are necessary here because

  of the widespread public focus on this case. Ultimately, Mr. Saab is asking only that

  the Court enforce Rule 53 and prevent the publication of photographs and videos

  which Rule 53 prohibits. In other words, as described by the Moussaoui court, he is

  asking that he be treated fairly and in a dignified manner. See id.

        We are aware that the Court’s resources are limited and that policing hundreds

  of Zoom participants is difficult to administer. As such, Mr. Saab requests that video

  access to future hearings be limited to only necessary parties, the Defendant’s family,

  and reputable news organizations with a proven record of abiding by Rule 53’s

  requirements. The public should also be permitted access, but only via a conference

  call dial-in to prevent further Rule 53 violations. With accredited press permitted

  video access to the courtroom and members of the public able to listen on the phone,

  the right to public access to the court proceedings will be balanced with Mr. Saab’s

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  rights as embodied in Rule 53.

        Courts in the Southern District of New York have applied a similar protocol in

  cases with significant public attention and have required both members of the press

  and the public to attend only via telephonic conference. See Order Setting

  Arraignment, Initial Conference, and Bail Hr’g, United States v. Maxwell, No. 1:20-

  CR-00330 (S.D.N.Y. July 9, 2020), ECF No. 16 (preventing public from viewing video

  proceedings where the defendant was detained, and instead, providing a public

  telephone line for the public to listen to court hearings); Paperless Notice of Change

  of Plea H’rg, United States v. Parnas, No. 1:19-CR-00725 (S.D.N.Y. Oct. 28, 2020)

  (providing a public telephone conference line to the public for Zoom change of plea

  hearing); Order Setting Telephone Conference, United States v. Avenatti, No. 1:19-

  CR-00373 (S.D.N.Y. Jan. 14, 2020), ECF No. 143 (providing the public with a

  telephone conference line to listen to ongoing pre-trial hearings); see also Paperless

  Order Setting Telephone Conference, United States v. Calk, Case No. 1:19-CR-00366

  (S.D.N.Y. Mar. 25, 2021) (requiring both “[m]embers of the press and public” to dial

  into a conference call number).

           D.        The Court May Refer the Violators to the United States
                     Attorney for Investigation and Enforcement.

        To enforce Rule 53 and send an appropriate deterrent message the Court may

  consider referring those listed in Exhibit “A” to the United States Attorney for

  investigation or issue an order to show cause why they should not be held in contempt.

  Admittedly, holding many of the international or foreign offenders accountable would

  be a difficult and impractical task. Further, Mr. Saab and his lawyers must get on

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   with task of defending the case against him. Nevertheless, given Judge O’Sullivan’s

   explicit warnings, the Rule 53 violations here were especially willful and the Court

   would be acting within its sound discretion should it decide to take further action.

         Meet-and confer. Undersigned counsel conferred with counsel for Government,

   and, while the Government opposes the specific relief requested in this motion, it does

   nevertheless agree that the Court should explore those steps which it may take to

   avoid future Rule 53 violations.

         WHEREFORE, the Defendant, Alex Nain Saab Moran, respectfully request

   that the Court take reasonable steps to prevent further Rule 53 violations by

   requiring the public to access future hearings via telephone and limiting video access

   to only necessary parties, Mr. Saab’s family, and a limited number of accredited press

   organizations with a demonstrated record of adhering to the restrictions of Rule 53

   and who affirm that they will comply with Rule 53 before being admitted video access

   to any hearings conducted over Zoom.

                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 26, 2021 a true and correct copy of the
   foregoing has been furnished electronically via CM/ECF to all counsel of record.




                               [Signature block on following page]




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                                      Respectfully Submitted,

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